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  8                            UNITED STATES DISTRICT COURT
  9                        SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    UNITED STATE OF AMERICA,                                 CASE NO. 06cr43-BEN
 12                                         Plaintiff,          ORDER DENYING
                                                                GOVERNMENT’S MOTION TO
 13           vs.                                               DISQUALIFY FEDERAL
                                                                DEFENDERS, INC. AS COUNSEL
 14                                                             FOR DEFENDANT LEXIN and
                                                                DENYING DEFENDANT LEXIN’S
 15    RONALD SAATHOFF, et al.,                                 MOTION TO DISQUALIFY
                                                                ASSIGNED GOVERNMENT
 16                                       Defendant.            PROSECUTORS
 17
 18          Now before the Court is the Government’s Motion to Disqualify Federal Defenders, Inc. as

 19   Counsel for Defendant Cathy Lexin Due to an Actual Conflict of Interest and Defendant Cathy

 20   Lexin’s Motion to Disqualify the Assigned Prosecutors Due to Government Interference With

 21   Lexin’s Representation by Counsel. A hearing was held on both motions on August 3, 2007.

 22   Both motions are denied.

 23   I. Government’s Motion to Disqualify Counsel for Lexin

 24          The facts supporting the Government’s motion are complicated. Briefly, the Government

 25   points out that Federal Defenders, Inc, and, more specifically, Mr. Todd Burns, Esq. currently

 26   represent Defendant Lexin and previously (or perhaps concurrently) represented other clients in

 27   other cases involving a law enforcement fingerprint expert, Mr. John Torres. The Government’s

 28   argument (oversimplified here) is that Torres and Lexin sat on the same city pension fund board of


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  1   directors at the same time and that in other cases Burns argued that Torres violated the state
  2   conflict-of-interest statute (California Government Code § 1090), while today Burns argues that
  3   Lexin did not violate the conflict-of-interest statute. For various reasons, the Government
  4   contends that this is an actual conflict of interest requiring disqualification of Burns and Federal
  5   Defenders, Inc. Burns and his client, Lexin, disagree.
  6          Burns has stated to this Court that he has investigated the matter and determined that his
  7   representation of Lexin is not adverse to either Lexin or his other clients. Likewise, Lexin opposes
  8   Burns’ disqualification.
  9          The Court is vested with “substantial latitude” in deciding whether and when to disqualify
 10   counsel. United States v. Frega, 179 F.3d 793, 800 (9th Cir. 1999) (Rymer, J., concurring in
 11   section II), cert. denied, 528 U.S. 1191 (2000). It is true, as the Government points out in its brief,
 12   that “few aspects of our criminal justice system are more vital to the assurance of fairness than the
 13   right to be defended by counsel . . . not burdened by a conflict of interest.” United States v. Henke,
 14   222 F.3d 633, 638 (9th Cir. 2000) (per curiam). However, it is also true that defense counsel (in
 15   this case, Burns) “‘is in the best position professionally and ethically to determine when a conflict
 16   of interest exists or will probably develop in the course of trial.’” Id. (quoting Holloway v.
 17   Arkansas, 435 U.S. 475, 485 (1978)).
 18          This Court concludes that any actual conflict is marginal, at most. In view of the marginal
 19   nature of the conflict and in view of defense counsel’s opinion that no actual conflict exists and
 20   that none will develop in the future, this Court concludes that neither Mr. Burns nor Federal
 21   Defenders, Inc. need be disqualified as counsel for Defendant Lexin.
 22   II. Lexin’s Motion to Disqualify Government Counsel
 23          Like the Government’s motion, Lexin’s motion to disqualify is based upon a complicated
 24   set of facts. At bottom, Lexin argues that her prosecution was improperly motivated. She
 25   surmises that her prosecution is the improper result of personal relationships between a
 26   “whistleblowing” fellow city pension fund board member, Ms. Diann Shipione, and Shipione’s
 27   spouse, Mr. Pat Shea, the present City Attorney for the City of San Diego, Mr. Michael Aguirre,
 28   Esq., and former United States Attorney for the Southern District of California, Ms. Carol Lam,


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  1   Esq.
  2          While the facts, as set out by Lexin, might reasonably call into question the possible
  3   motivation for initiating this prosecution, the Court notes a new U.S. Attorney for the Southern
  4   District of California has recently been appointed. Ms. Hewitt is no doubt aware of this
  5   prosecution and either has or will review the merits and demerits of the Government’s case. The
  6   Court expects that Ms. Hewitt will properly exercise her prosecutorial discretion and decide
  7   whether or not to continue pursuing the case. Lexin makes no showing of impropriety concerning
  8   the motivations of assistant prosecutors appearing before this Court.
  9          Therefore, in view of the change in the leadership at the U.S. Attorney’s Office, and in the
 10   exercise of the Court’s substantial latitude in such matters, this Court concludes that the current
 11   prosecutors need not be disqualified as counsel for the Government.
 12   III. Conclusion
 13          Both motions for disqualification are, hereby, Denied.
 14          The next hearing shall take place on Friday, November 5, 2007 at 1:30 p.m., at which
 15   time Defendant Lexin shall appear and be heard regarding any potential conflict of her court-
 16   appointed counsel.
 17   IT IS SO ORDERED.
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 19
      DATED: October 11, 2007
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 21                                                   Hon. Roger T. Benitez
                                                      United States District Judge
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